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                      UNITED STATES DISTRICT COURT
                         DISTRICT OF NEW JERSEY



 ACP GP, LLC, et al.,
                                              Case No. 18–cv–13147–CCC–ESK
              Plaintiffs,

       v.
                                              ORDER DENYING DEFENDANT
 MOTIVATIONAL COACHES OF                       JULIO AVAEL’S REQUEST TO
 AMERICA, INC., et al.,                         STAY DISCOVERY AND FOR
                                                 PRETRIAL SCHEDULING
              Defendants.


        THIS MATTER having come before the Court on pro se defendant Julio
 Avael’s application to stay discovery (Application) (ECF No. 52) pending resolution
 of certain motions; and plaintiffs having opposed the request (ECF No. 57); and the
 Court having considered the papers submitted in support and in opposition to the
 Application, and having hearing the parties’ arguments on May 14, 2020 on the
 record; and for the reasons stated on the record:


       IT IS on this 14th day of May 2020 ORDERED that:

       1.    The Application is DENIED.

         2.    A telephone status conference is scheduled for August 20, 2020 at
 10:00 a.m. before Magistrate Judge Edward S. Kiel. The parties shall file a joint
 letter, at least three business days before the conference advising of the status of
 discovery, any pending motions, and any other issues to be addressed.

        3.    Fact discovery is to remain open through September 30, 2020. All
 depositions of fact witnesses must be completed by the close of fact discovery. No
 fact discovery is to be issued or engaged in beyond that date, except for good cause
 shown.

       4.    Motions to add new parties, whether by amended or third-party
 complaint, and motions to amend pleadings must be filed no later than July 31,
 2020.

       5.   The parties shall exchange disclosures pursuant to Rule 26 no later
 than June 5, 2020.
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       6.   The parties may serve additional written discovery requests on or before
 May 29, 2020. Interrogatories shall be limited to 25 single questions, inclusive of
 subparts.

       7.    The number of depositions to be taken by each side shall not exceed 5.

       8.    The parties are directed to Rule 26(f) and Local Rule 26.1, which
 address preservation of discoverable information, discovery of electronically stored
 information, claims of privilege or work product protection, and the obligations of
 counsel concerning their clients’ information management systems.

        9.   The parties are directed to the Court’s Civil Case Management Order
 for procedures concerning discovery disputes, motion practice, and requests for
 extensions and adjournments.

        10. Proposed confidentiality orders, submitted upon the consent of the
 parties, must comply with Rule 26(c), Local Rule 5.3, and applicable case law.
 Please also refer to the Court’s Civil Case Management Order.

        11. Plaintiffs are directed to the Court’s Order Concerning Citizenship of
 Unincorporated Business Organizations. Plaintiffs shall file a letter on or before
 May 22, 2020 fully analyzing the membership of the limited liability companies
 for diversity jurisdiction purposes.



                                                  /s/ Edward S. Kiel
                                                 EDWARD S. KIEL
                                                 UNITED STATES MAGISTRATE JUDGE




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